                       EXHIBIT A




Case 3:18-cv-00749 Document 159-1 Filed 06/05/20 Page 1 of 20 PageID #: 2330
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE

GLOBAL FORCE ENTERTAINMENT,            )
INC. and JEFFREY JARRET,               )
                                       )
            Plaintiffs,                )
                                       )
v.                                     ) CIVIL ACTION NO. 3:18-cv-00749
                                       )
ANTHEM SPORTS & ENTERTAINMENT, )
CORP., and ANTHEM WRESTLING            )
EXHIBITIONS, LLC,                      )
                                       )
            Defendants.                )
                                       )
                                       )
______________________________________________________________________________
  PLAINTIFF JEFF JARRETT’S RESPONSES TO DEFENDANT ANTHEM SPORTS
        AND ANTHEM WRESTLING’S FIRST SET OF INTERROGATORIES
______________________________________________________________________________

       Plaintiff Jeffrey Jarrett (“Plaintiff”) submits the following Responses to Defendants

Anthem Sports & Entertainment, Corp., and Anthem Wrestling Exhibitions, LLC’s (collectively

“Anthem” or “Defendants”) First set of Interrogatories.

                               PRELIMINARY STATEMENT

   1. Plaintiff’s responses and objections to the Interrogatories are based upon its present

knowledge, information, and belief. Plaintiff has not completed its investigation and discovery of

facts related to this action. Without acknowledging any obligation to do so, except as required by

law, Plaintiff reserves the right to amend or supplement these responses when and if new and

additional material or information becomes available.

   2. Plaintiff’s responses and objections are made solely for the purpose of this action. Plaintiff

reserves all objections and other questions as to the competency, relevance, proportionality,

materiality, privilege, or admissibility of these responses and any document or thing identified in




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response to the Interrogatories as evidence in any subsequent proceeding or trial of this or any

other action for any purpose whatsoever.

   3. The following responses are submitted without prejudice to Plaintiff’s right to produce

evidence of any subsequently discovered fact or facts, which Plaintiff may later recall or discover.

The responses contained herein are made in a good faith effort to supply as much factual

information and as much specification of legal contentions as is presently known but in no way

prejudices Plaintiff’s ability to engage in further discovery, research, or analysis.

   4. Plaintiff’s search for information and documentation in connection with the Interrogatories

was conducted with the necessary degree of diligence to locate responsive information, if any, in

locations where such information is likely to exist.

   5. Plaintiff incorporates by reference the foregoing in each and every response to the

Interrogatories set forth below.

                                    GENERAL OBJECTIONS

       The following general objections (the “General Objections”) apply to each of the

Interrogatories and to any amendments, modifications, or supplements to these responses, which

may be provided at a later date.

   1. Plaintiff objects to the Interrogatories insofar as they purport to require disclosure of

communications and information that are shielded from disclosure by the attorney/client privilege,

attorney work-product doctrine, joint defense privilege, common-interest doctrine, and/or other

applicable privileges and/or immunities.

   2. Plaintiff objects to the Interrogatories to the extent that they are vague, cumulative, unduly

burdensome, not relevant to the claims and defenses at issue, and not proportional to the needs of

the case.




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   3. Plaintiff objects to the Interrogatories to the extent that they attempt to impose obligations

upon Plaintiff other than those imposed by the Federal Rules of Civil Procedure or the Local Rules.

   4. Plaintiff reserves the right to object to the admissibility into evidence or other use of any

of these responses at the trial of this action or at any other proceeding in this action or any other

action.

   5. Plaintiff reserves the right to object at any time to any demand for further responses to the

Interrogatories or any other discovery procedures involving or relating to the subject matter of the

Interrogatories.

   6. Plaintiff reserves the right to revise, correct, add to, or clarify any of the responses to the

Interrogatories set forth herein at any time.

   7. Plaintiff objects to the Interrogatories to the extent that they seek disclosure of information

already in Hardie’s knowledge, possession, and/or control.

   8. Except for the facts explicitly admitted herein, no admission of any nature whatsoever is

to be implied or inferred. The fact that any of the Interrogatories herein has been answered should

not be taken as an admission of the facts assumed by such request.

   9. Plaintiff objects to the definition of “identify” as overbroad because it imposes obligations

upon Plaintiff beyond what is required by the Federal Rules of Civil Procedure or Local Rules.

   10. Plaintiff objects to the definitions of “relate,” “relating to,” and “related to” and “refer,”

“relate,” “pertain,” “concerns” or “with regards to” because the terms appear to be defined twice

and such definitions are inconsistent.

   11. Plaintiffs incorporate by reference these General Objections in the responses to the

Interrogatories set forth below.




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             JEFF JARRET’S OBJECTIONS AND RESPONSES TO SPECIFIC
                              INTERROGATORIES

        1.      Identify any and all businesses (whether for-profit or not-for-profit) to which Mr.

Jarrett has provided services since January 1, 2014. With respect to such services, identify the

duration of your involvement and identify the services offered. If there is an agreement relating to

such services, please identify it.

        RESPONSE: Plaintiff objects to the Interrogatory as irrelevant to any party’s claim or

defense and no proportional to the needs of the case, considering the importance of the issues at

stake in the action, the amount in controversy, the parties’ relative access to relevant information,

the parties’ resources, the importance of the discovery in resolving the issues, and whether the

burden or expense of the proposed discovery outweighs its likely benefit.

        2.      Identify all agreements, whether written or oral, between Jarrett and either Anthem

Defendant during the period January 1, 2015 to the present.

        RESPONSE: Plaintiffs object to this interrogatory as seeking information that is already

in Defendants’ possession, custody, or control. Subject to the General Objections and foregoing

objections, see Exhibit 2 to the Second Amended Complaint.

        3.      Identify all agreements, whether written or oral, between Jarrett and any other party

during the period January 1, 2015 to the present.

        RESPONSE: Plaintiff objects to the Interrogatory to the extent it calls for information

subject to attorney-client privilege, work product doctrine, common defense privilege, or any other

privilege. Plaintiff further objects to the Interrogatory as irrelevant to any party’s claim or defense

and no proportional to the needs of the case, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant information, the




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parties’ resources, the importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit.

       4.      Please describe the circumstances surrounding Kevin Sullivan and the work he

performed on the Amped Content, including a description of the work he was to perform, the

parties to any written or oral agreement with Mr. Sullivan regarding the Amped Content (or any

of it), the cost of those services, and the terms of your agreement with him. Please identify any

documents that relate to Kevin Sullivan and any work he performed related to the Amped Content.

       RESPONSE: Plaintiff objects to the Interrogatory as irrelevant to any party’s claim or

defense and no proportional to the needs of the case, considering the importance of the issues at

stake in the action, the amount in controversy, the parties’ relative access to relevant information,

the parties’ resources, the importance of the discovery in resolving the issues, and whether the

burden or expense of the proposed discovery outweighs its likely benefit. Discoverable documents

responsive to Defendants’ Requests for Production relating to Kevin Sullivan and any work he

performed related to the Amped Content in Mr. Jarrett’s possession will be produced in response

thereto.

       5.      Identify all persons who have relevant knowledge to the claims made in your

Amended Complaint.

       RESPONSE: Plaintiff objects to the Interrogatory on grounds that it is overly broad and

to the extent it purports to impose on Plaintiff obligations other than those imposed by the Federal

Rules of Civil Procedure. Without waiving said objections, persons who have relevant knowledge

to the claims made in the Second Amended Complaint are identified in Plaintiffs’ Initial

Disclosures. To the extent additional persons are identified as discovery continues, Plaintiff will

supplement this response.




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       6.      In your view, what is a reasonable license fee for the use of the Amped Content

about which you complain in this case? Please describe the basis for your opinion.

       RESPONSE: Plaintiff object to this interrogatory as calling for expert disclosures prior

to the deadline set by the Initial Case Management Order (Dkt. 22). Subject to the General

Objections and the foregoing objection, Plaintiff asserts that the value of the destroyed content is

between $100,000 and $300,000 based on industry standards. Moreover, discovery is ongoing, and

this response will be timely supplemented.

       7.      Please identify any expert witness you have engaged in this matter, including the

subject matter of the expert’s expertise.

       RESPONSE: Plaintiff will provide expert information, if any, in accordance with the

Initial Case Management Order, Local Rules, and Federal Rules of Civil Procedure.

                                              Respectfully submitted,

                                              /s/ Samuel F. Miller
                                              Samuel F. Miller (BPR No. 022936)
                                              Nicholas R. Valenti (BPR No. 035420)
                                              A. Grace Van Dyke James (BPR No. 035667)
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                                                     Nvalenti@millerlegalpartners.com
                                                     Gjames@millerlegalpartners.com

                                              Attorneys for Plaintiffs

                                 CERTIFICATE OF SERVICE
       I hereby certify that on this 18th day of April 2019, the foregoing document was served via
email and USPS mail upon the following:

        Paige W. Mills
        Bass, Berry & Sims PLC
        150 Third Avenue South, Suite 2800



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     Nashville, TN 37201




                                        /s/ Samuel F. Miller




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE

GLOBAL FORCE ENTERTAINMENT,            )
INC. and JEFFREY JARRET,               )
                                       )
            Plaintiffs,                )
                                       )
v.                                     ) CIVIL ACTION NO. 3:18-cv-00749
                                       )
ANTHEM SPORTS & ENTERTAINMENT, )
CORP., and ANTHEM WRESTLING            )
EXHIBITIONS, LLC,                      )
                                       )
            Defendants.                )
                                       )
                                       )
______________________________________________________________________________
  PLAINTIFF JEFF JARRETT’S RESPONSES TO DEFENDANT ANTHEM SPORTS
 AND ANTHEM WRESTLING’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                             DOCUMENTS


       Plaintiff Jeffrey Jarret (“Plaintiff”) submits the following Responses and Objections to

Defendants Anthem Sports & Entertainment, Corp. and Anthem Wrestling Exhibitions, LLCs’

(collectively “Anthem” or “Defendants”) First set of Requests for Production of Documents.

                               PRELIMINARY STATEMENT

       1.      Plaintiff’s responses and objections to these Requests are based upon its present

knowledge, information, and belief. Plaintiff has not completed its investigation and discovery of

facts related to this action. Without acknowledging any obligation to do so, except as requested by

law, Plaintiff reserves the right to amend or supplement these responses when and if new and

additional material or information becomes available.

       2.      Plaintiff’s responses and objections are made solely for the purpose of this action.

Plaintiff reserves all objections and other questions as to the competency, relevance,

proportionality, materiality, privilege, or admissibility of these responses and any document or
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thing identified in response to these Requests as evidence in any subsequent proceeding or trial of

this or any other action for any purpose whatsoever.

       3.      The following responses are submitted without prejudice to Plaintiff’s right to

produce evidence of any subsequently discovered fact or facts, which Plaintiff may later recall or

discover. The responses contained herein are made in a good faith effort to supply as much factual

information and as much specification of legal contentions as is presently known but in no way

prejudices Plaintiff’s ability to engage in further discovery, research, or analysis.

       4.      Plaintiff’s search for information and documentation in connection with the

Requests was conducted with the necessary degree of diligence to located responsive information,

if any exists, in locations where such information is likely to exist.

       5.      Plaintiff incorporates by reference the foregoing in each and every response to the

Requests as set forth below.

                                    GENERAL OBJECTIONS

       The following general objections (“General Objections”) apply to each of the Requests for

Production and to any amendments, modifications, or supplements to these responses, which may

be provided at a later date:

       1.      Plaintiff objects to the Requests insofar as they purport to require disclosure of

communications and information that are shielded from disclosure by the attorney/client privilege,

attorney work-product doctrine, and/or other applicable privileges and/or immunities.

       2.      Plaintiff objects to the Requests to the extent that they are vague, cumulative,

unduly burdensome, not relevant to the claims and defenses at issue, and not proportional to the

needs of this case.




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       3.      Plaintiff objects to the Requests to the extent that they attempt to impose obligations

upon Plaintiff other than those imposed by the Federal Rules of Civil Procedure.

       4.      Plaintiff reserves the right to object to admission into evidence or other use of any

of these responses or any documents or things produced in response to the Requests at any

proceeding or trial in this action or at any proceeding or trial in any other action.

       5.      Plaintiff reserves the right to object at any time to any demand for further responses

to the Requests or any other discovery procedures involving or relating to the subject matter of the

Requests.

       6.      Plaintiff reserves the right at any time to revise, correct, add to or clarify any of the

responses to the Requests set forth herein.

       7.      Plaintiff objects to the Requests to the extent that they seek disclosure of

information or documents already in Defendant’s knowledge, possession and/or control and/or

information, documents, or things that are publicly available.

       8.      Plaintiff objects to Instructions to the extent they are inconsistent with and/or

impose obligations beyond those of the parties’ Stipulated Order and Protocol Regarding

Electronic Discovery and Format of Production of Documents (“ESI Protocol”).

       9.      Plaintiff objects to Instructions because they impose obligations upon Plaintiff

beyond what is required by the Federal Rules of Civil Procedure or Local Rules.

       10.     Plaintiff’s responses or productions in response to any Request shall not be

construed as an admission to any fact made, implied, or suggested in any Request. The fact that

any Request herein has been answered should not be taken as an admission of the facts assumed

by such Request.




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JEFF JARRET’S RESPONSES TO REQUESTS FOR PRODUCTION OF DOCUMENTS

       1.      Please produce all documents identified in your response to Defendants’

Interrogatories, above.

       RESPONSE:          Plaintiff incorporates by references its objections and responses to

Defendants’ Interrogatories. Subject to the foregoing specific objections and the General

Objections above, Plaintiff will produce the responsive documents within his possession.

       2.      Please produce a copy of all documents provided to the US Copyright Office in

support of your application for registration for any of the GFW Amped videos.

       RESPONSE: Subject to the foregoing General Objections, Plaintiff will produce

responsive documents.

       3.      Please produce a copy of any documents that relate to your application for

registration with the US Copyright Office for the GFW Amped videos.

       RESPONSE: Plaintiff objects to the Request to the extent it calls for information subject

to attorney-client privilege, work product doctrine, common defense privilege, or any other

privilege. Plaintiff objects to the Request as irrelevant to any party’s claim or defense and no

proportional to the needs of the case, considering the importance of the issues at stake in the action,

the amount in controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit. Subject to the General Objections

and the foregoing objections, see response to Request No. 2 above.

       4.      Please provide a copy of any emails, regardless of from what email account it

originates, between Jeff Jarrett and any employee of Anthem Wrestling or Anthem Sports, that

evidence, support, contradict, or relate to the allegations in the Amended Complaint.



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       RESPONSE: Plaintiff objects to the Request as irrelevant to any party’s claim or defense

and no proportional to the needs of the case, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. Plaintiff further objects to this

Request as not limited to a reasonable time period. Subject to the General Objections and

foregoing objections, Plaintiff will produce certain emails for production.

       5.      Please provide a copy of any emails, regardless of from what email account it

originates, between any other individual and any employee of Anthem Wrestling or Anthem

Sports, that evidence, support, contradict, or relate to the allegations in the Amended Complaint.

       RESPONSE: Plaintiff objects to the Request as irrelevant to any party’s claim or defense

and no proportional to the needs of the case, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. Plaintiff further objects to this

Request as not limited in time. Subject to the General Objections and foregoing objections,

Plaintiff will produce certain emails for production.

       6.      Please provide a copy of any emails, regardless of from what email account it

originates, between Jeff Jarrett and any other individual or entity, that evidence, support,

contradict, or relate to the allegations in the Amended Complaint.

       RESPONSE: Plaintiff objects to the Request to the extent it calls for information subject

to attorney-client privilege, work product doctrine, common defense privilege, or any other

privilege. Plaintiff objects to the Request as irrelevant to any party’s claim or defense and no



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proportional to the needs of the case, considering the importance of the issues at stake in the action,

the amount in controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit. Further, Plaintiff objects to this

Request because it is not limited to a reasonable time period.

       7.      Please provide a copy of all model or talent releases that you obtained for any

individual appearing in GFW Amped videos.

       RESPONSE: Plaintiff objects to the Request as irrelevant to any party’s claim or defense

and no proportional to the needs of the case, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. Further, Plaintiff objects to this

Request because it is not limited to a reasonable time period.

       8.      Please provide a copy of all documents that evidence, support, contradict, or relate

to the allegations in Paragraph 34 of the Amended Complaint.

       RESPONSE: Plaintiff objects to the Request as irrelevant to any party’s claim or defense

and no proportional to the needs of the case, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. Further, Plaintiff objects to this

Request because it is not limited to a reasonable time period.

       9.      Please provide a copy of all documents that evidence, support, contradict, or relate

to the allegations in Paragraph 35 of the Amended Complaint.



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       RESPONSE: Plaintiff objects to the Request as irrelevant to any party’s claim or defense

and no proportional to the needs of the case, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. Further, Plaintiff objects to this

Request because it is not limited to a reasonable time period.laintiff objects to this request on the

bases of the attorney-client privilege and work-product doctrine.

       10.     Please provide a copy of all documents that evidence, support, or relate to the

allegations in Paragraph 37 of the Amended Complaint.

       RESPONSE: Plaintiff has no documents in his possession that support “on or about

December 23, 2016, Anthem Sports formed Anthem Wrestling” as alleged in Dkt. 54. The

allegation is based on a press release from Anthem Sports website.

       11.     Please provide a copy of all documents that evidence, support, or relate to the

allegations in Paragraph 40-41 of the Amended Complaint, including previous drafts of the

indicated press release.

       RESPONSE: Plaintiff objects to the Request to the extent it calls for information subject

to attorney-client privilege, work product doctrine, common defense privilege, or any other

privilege. Plaintiff objects to the Interrogatory as irrelevant to any party’s claim or defense and no

proportional to the needs of the case, considering the importance of the issues at stake in the action,

the amount in controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit. Further, Plaintiff objects to this

Request because it is not limited to a reasonable time period.



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       12.     Please provide any and all documents that would indicate that third parties were

interested in publishing the Amped Content, including all documents that would indicate the value

these third parties were willing to pay.

       RESPONSE: Subject to the foregoing General Objections, Plaintiff will produce

responsive documents in his possession.

       13.     Please provide a copy of all documents that relate to Mr. Jarrett’s termination from

Anthem Wrestling.

       RESPONSE: Subject to the foregoing General Objections, Plaintiff will produce

responsive documents in his possession to the extent such documents exist.

       14.     Please provide a copy of all documents that relate to the parties’ failure to complete

the contemplated merger described in the Amended Complaint.

       RESPONSE: Subject to the foregoing General Objections, Plaintiff will produce

responsive documents in his possession to the extent such documents exist.

       15.     Please provide a copy of all documents that evidence one or both Anthem

Defendants’ alleged marketing and/or promotion of the Amped Content.

       RESPONSE: Subject to the foregoing General Objections, Plaintiff will produce

responsive documents in his possession to the extent such documents exist.

       16.     Please provide a copy of all documents that would support the allegations in

Paragraphs 62-65 of the Amended Complaint.

       RESPONSE: Plaintiff objects to the Request to the extent it calls for information subject

to attorney-client privilege, work product doctrine, common defense privilege, or any other

privilege. Further, Plaintiff objects to this Request because it is not limited to a reasonable time

period. Subject to the General Objections and the foregoing objections, see Exhibit 5 to Dkt. 54,



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the parties’ respective websites, and the AMPED packaging. Plaintiff will produce additional

responsive documents in his possession to the extent such documents exist.

       17.     Please provide any and all documents that would indicate that third parties were

interested in publishing the Amped Content, including all documents that would indicate the value

these third parties were willing to pay.

       RESPONSE: Plaintiff objects to the Request to the extent it calls for information subject

to attorney-client privilege, work product doctrine, common defense privilege, or any other

privilege. Subject to the foregoing General Objections, Plaintiff will produce responsive

documents in his possession to the extent such documents exist.

       18.     Please provide a copy of all documents that relate to Mr. Jarrett’s termination from

Anthem Wrestling.

       RESPONSE: Plaintiff objects to the Request to the extent it calls for information subject

to attorney-client privilege, work product doctrine, common defense privilege, or any other

privilege. Subject to the foregoing General Objections, Plaintiff will produce responsive

documents in his possession to the extent such documents exist.

       19.     Please provide a copy of all documents that would indicate that consumers have

been confused or deceived by Defendants’ alleged use of the marks GFW, GLOBAL

WRESTLING NETWORK, the GLOBAL WRESTLING NETWORK logo, GWN, and the GWN

logo (as these marks are described in the Amended Complaint).

       RESPONSE: Plaintiff objects to the Request to the extent it calls for information subject

to attorney-client privilege, work product doctrine, common defense privilege, or any other

privilege. Subject to the foregoing General Objections, Plaintiff will produce responsive

documents in his possession to the extent such documents exist.



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        20.    Please provide a copy of all documents in your possession, custody or control that

would evidence Defendants’ alleged use of the marks GFW, GLOBAL WRESTLING

NETWORK, the GLOBAL WRESTLING NETWORK logo, GWN, and the GWN logo (as these

marks are described in the Amended Complaint).

        RESPONSE: See Exhibit 5 to Dkt. 54, the parties’ respective websites, and the AMPED

packaging. Plaintiff will produce additional responsive documents in his possession to the extent

such documents exist.

        21.    Please provide a copy of all documents in your possession, custody or control that

would support your allegations that defendants have been unjustly enriched at the expense of

Plaintiffs.

        RESPONSE:       Subject to the foregoing General Objections, Plaintiff will produce

responsive documents.

        22.    Please provide all documents that would indicate that Jarrett has suffered an

ascertainable loss of money and/or market share are a result of alleged unfair and deceptive trade

practices committed by Defendants.

        RESPONSE: Subject to the foregoing General Objections, Plaintiff will produce

responsive documents.

        23.    Please provide any documents that would evidence any restrictions that Jeff Jarrett

placed on the use of or retention of the Masters provided to Anthem Wrestling.

        RESPONSE: Subject to the foregoing General Objections, Plaintiff will produce

responsive documents in his possession to the extent such documents exist.

        24.    Please provide any documents that would evidence any restrictions that Plaintiff

Jarrett placed on Defendants’ alleged use of the marks GFW, GLOBAL WRESTLING



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NETWORK, the GLOBAL WRESTLING NETWORK logo, GWN, and the GWN logo (as these

marks are described in the Amended Complaint).

       RESPONSE: Subject to the foregoing General Objections, Plaintiff will produce

responsive documents in his possession.

       25.     Please provide any documents that would evidence any restrictions that Plaintiff

Jarrett placed on Defendants’ alleged use of the Amped Content.

       RESPONSE: Subject to the foregoing General Objections, Plaintiff will produce

responsive documents in his possession to the extent such documents exist.

                                             Respectfully submitted,

                                             /s/ Samuel F. Miller
                                             Samuel F. Miller (BPR No. 022936)
                                             Nicholas R. Valenti (BPR No. 035420)
                                             A. Grace Van Dyke James (BPR No. 035667)
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                                             Fifth Third Center – Suite 2000
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                                             Nashville, TN 37219
                                             Telephone/Fax: (615) 988.9011
                                             Email: Smiller@millerlegalpartners.com
                                                    Nvalenti@millerlegalpartners.com
                                                    Gjames@millerlegalpartners.com

                                             Attorneys for Plaintiffs

                                CERTIFICATE OF SERVICE
       I hereby certify that on this 18th day of April 2019, the foregoing document was served via
email and USPS mail upon the following:

        Paige W. Mills
        Bass, Berry & Sims PLC
        150 Third Avenue South, Suite 2800
        Nashville, TN 37201




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                                          /s/ Samuel F. Miller




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